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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS



 UNITED STATES OF AMERICA,

        v.
                                                 Case No. 19-mj-06087-MPK
 GREGORY ABBOTT, et al.,

                     Defendants



                               NOTICE OF APPEARANCE

TO THE CLERK OF THIS COURT AND ALL PARTIES OF RECORD:

       Please enter my appearance as counsel for Defendants Mossimo Giannulli and Lori

Loughlin in the above-captioned matter.




Dated: March 18, 2019                                   Respectfully submitted,

                                                        MOSSIMO GIANNULLI and
                                                        LORI LOUGHLIN

                                                        By their attorney,

                                                        /s/ William J. Trach ____
                                                        William J. Trach (BBO # 661401)
                                                        LATHAM & WATKINS LLP
                                                        200 Clarendon Street
                                                        Boston, MA 02116
                                                        Telephone: (617) 948-6000
                                                        Facsimile: (617) 948-6001
                                                        william.trach@lw.com




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                                CERTIFICATE OF SERVICE

       I hereby certify that the foregoing Notice of Appearance, which was filed with the Court
through the CM/ECF system, will be sent electronically to all registered participants as identified
on the Notice of Electronic Filing, and paper copies will be sent via first class mail on March 18,
2019 to those identified as non-registered participants.

                                                             /s/ William J. Trach______
                                                             William J. Trach




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